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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Case No. 1-21-cv-01382-NYW                                                            FILED
                                                                             UNITED STATES DISTRICT COURT
                                                                                  DENVER, COLORADO
  ANDREW SCHOBER,
                                                                               JEFFREY P. COLWELL, CLERK
                  Plaintiff,

          v.

  BENEDICT THOMPSON, OLIVER READ,
  EDWARD J. THOMPSON, CLAIRE L. THOMPSON,
  PAUL READ, AND HAZEL DAVINA WELLS,

                  Defendants.


                                        MOTION TO DISMISS

          Pursuant to Rule 12(b)(2) of the Federal Rules of Civil Procedure, Defendants Oliver

  Read                                                                    court has a lack of personal

  jurisdiction in this matter.

                                              Introduction

  The claims against Oliver Read should be dismissed for lack of personal jurisdiction. No facts

  show that they purposefully directed any alleged unlawful conduct to Colorado or purposely

  availed itself of the privilege of conducting the alleged activities.

                                     Motion to Dismiss Standard

  Additionally, this Court lacks personal jurisdiction over Oliver Read. The plaintiff bears the

  burden of pleading facts that support the exercise of personal jurisdiction. Dudnikov v. Chalk &

  Vermilion Fine Arts, Inc., 514 F.3d 1069, 1070 (10th Cir.2008); Wenz v. Memery Crystal, 55F.3d

  1503, 1505 (10th Cir. 1995).




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  Only the well-pleaded facts, affidavits, or other writings, as

  distinguished from conclusory allegations, can establish jurisdiction. Dudnikov, 514 F.3d at

  1070; Good v. Fuji Fire & Marine, Ins. Co., Ltd., 271 Fed. Appx. 756, 758 59 (10th Cir. 2008).

  The test for personal jurisdiction includes determining whether any statute authorizes the

  service of process on defendants and whether exercising such statutory jurisdiction comports

  with constitutional due process demands. Dudnikov                                              -arm

  statute confers the maximum jurisdiction permissible consistent with the Due Process Clause, the

  statutory inquiry effectively collapses into the constitutional analysis. Here, the Colorado

  long-arm statute confers the maximum jurisdiction, so the only question is whether exercising

  jurisdiction would comport with constitutional due process. Plaintiff must establish either

  general or specific jurisdiction over Oliver Read

                                                 Facts


         -   Oliver Read has never entered the state of Colorado, or the United States of America.

         -   Oliver Read is not and never had been residents of Colorado or the United States of

             America.

         -   Oliver Read is a resident of the United Kingdom.

         -   Oliver Read had never been in contact with anyone from Colorado as of the

             beginning of court proceedings including the defendant.




                                      Authorities and Argument

  Likewise, the Court lacks specific jurisdiction over Oliver Read. The Supreme Court has held

  that, to exercise specific jurisdiction in harmony with due process, defendants must have



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                                                                   Dudnikov, 514 F.3d at 1070

  (quoting Int'l Shoe Co. v. Washington, 326 U.S. 310, 316, 66 S.Ct. 154, 90 L.Ed. 95 (1945)).



  out-of-

  state, and se                                                                       -related

  activities. Dudnikov, 514 F.3d at 1071 (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462,

  472, 105 S.Ct. 2174, 85 L.Ed.2d 528 (1985)). Minimum contacts exist where the nonresident




  activities or consummating a transaction in the forum state. See Dudnikov, 514 F.3d at 1071;

  Bell Helicopter Textron, Inc. v. Heliqwest Int'l, Ltd., 385 F.3d 1291, 1296 (10th Cir.2004); Pro

  Axess, Inc. v. Orlux Distrib., Inc., 428 F.3d 1270, 1277 (10th Cir.2005); OMI Holdings, Inc. v.

  Royal Ins. Co. of Canada, 149 F.3d 1086, 1092 (10th Cir.1998). In all events, the shared aim of

                                                                                               -of-state

  defendant is not bound to appea

                                  Burger King Corp., 471 U.S. at 475, 105 S.Ct. 2174 (internal

  quotations omitted). Purposeful direction exists when there is (1) an intentional action, that was

  (2) expressly aimed at the forum state, with (3) knowledge that the brunt of the injury would be

  felt in the forum state. Dudnikov, 514 F.3d at 1072. Oliver Read does not have minimum

  contacts with Colorado; There is no fact sufficient to show that they directed any alleged

  unlawful conduct to Colorado or knew that injury related to such conduct would be felt in

  Colorado.




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                                               Conclusion

  Oliver Read respectfully requests that this Court dismiss Pl   against them for lack

  of personal jurisdiction, with prejudice to refiling.

  Dated this 21th day of August, 2022.




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